                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

BBAM Aircraft Management LP and BBAM           Case No. 3:20-cv-01056-OAW
US LP,

                Plaintiffs and Counterclaim-
                Defendants,

            -against-

Babcock & Brown LLC, Burnham Sterling &
Company LLC, Babcock & Brown Securities
LLC, Babcock & Brown Investment
Management LLC,

                Defendants and
                Counterclaim-Plaintiffs.




       PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR (1)
  OPPOSITION TO DEFENDANTS’ MOTION FOR ADDITIONAL DISCOVERY AND
              (2) CROSS-MOTION FOR A PROTECTIVE ORDER




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                                       INTRODUCTION

       Plaintiffs and Counterclaim-Defendants BBAM Aircraft Management LP and BBAM US

LP (collectively “BBAM”) oppose Defendants’ Babcock & Brown LLC, Burnham Sterling &

Co. LLC, Babcock & Brown Investment Management LLC, and Babcock & Brown Securities

LLC’s (collectively, “Defendants”) Motion for Leave from Case Suspension and Under

Rule 30(a)(2)(A) to Conduct Additional Discovery Related to their Amended Counterclaims

(“Motion for Additional Discovery”), Dkt. 130. In this Motion, Defendants seek additional

discovery relating to the unfair competition counterclaim (“UCL claim”) in their First Amended

Answer and Counterclaims, which BBAM has moved to dismiss.

       As detailed in BBAM’s pending Motion to Dismiss Defendants’ First Amended Answer

and Counterclaims (“MTD”) and summarized below, all of Defendants’ amended counterclaims

are fatally flawed and should be dismissed with prejudice. See Dkt. 142. Defendants’ UCL

claim seeks to inject a host of new issues into the case which would, in turn, require far-reaching

discovery. If permitted, both BBAM and Defendants would need to take more depositions, serve

and respond to written discovery on several different topics, produce documents on these

disparate topics, and provide new damages reports that addresses Defendants’ new theory of

competition. If the Court dismisses the UCL claim, it will moot the need for this discovery and

allow the trademark claims to promptly proceed to summary judgment and trial. Because

BBAM anticipates that the Court’s ruling on its MTD will obviate the need for any discovery

related to the amended counterclaims, BBAM hereby opposes Defendants’ motion and files

concurrently with this opposition a cross-motion for a protective order under Rule 26(c) to stay

discovery on the amended counterclaims until after the Court has ruled on BBAM’s MTD.

Rule 26(c) is designed to shield parties from precisely the type of expensive and potentially




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wasteful discovery that Defendants seek here, especially at this stage of the case with discovery

closed except two pending motions. BBAM thus respectfully requests that the Court grant its

Motion for a Protective Order and deny Defendants’ Motion for Additional Discovery.

                                         BACKGROUND

         In July of 2020, BBAM filed suit against Defendants based on their improper and

infringing use of BBAM’s trademarks. BBAM is an aircraft leasing and asset management

company that was founded more than 30 years ago, incorporated as an entity in 1992, and was

previously owned by Babcock & Brown LP, an international investment advisory firm. In 2010,

Babcock & Brown LP went out of business, but BBAM (short for Babcock & Brown Aircraft

Management) did not—it was purchased by its management team and continued operations.

BBAM has continually conducted business for the last three decades. Today, it is the third

largest manager of leased commercial jet aircraft in the world and the largest dedicated manager

of third-party capital in the sector, with more than $28.9 billion of aircraft assets under

management. BBAM owns incontestable federal registrations for the BBAM mark (Reg. No.

2,424,139) and BBAM logo (Reg. No. 3, 925,643). In addition, BBAM is widely recognized in

the industry by the BABCOCK & BROWN mark and the abbreviated B&B mark among its

airline clients and its target investor market. It has continually used the marks for more than 30

years.

         Defendants consist of four companies owned and managed by Michael Dickey Morgan, a

former BBAM employee. After parting ways with BBAM in or around 2010, Mr. Morgan

started Burnham Sterling, which offers financial advisory and investment management services

to airlines. In marketing materials, Burnham Sterling makes express, literally false claims of

affiliation or continuation with Babcock & Brown and/or BBAM, often referring to the two




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entities interchangeably. Burnham Sterling and the other Defendant entities intentionally and

willfully use BBAM’s BABCOCK & BROWN and B&B word marks to associate themselves

with, and trade off of, BBAM’s long-standing reputation and goodwill in the industry.

Defendants’ false and infringing uses of the BABCOCK & BROWN marks are likely to lead to

consumer confusion and cause mistake in the airline and aircraft financing industries, harm

BBAM’s reputation, create a significant risk of confusion, and divert business opportunities that

would otherwise have gone to BBAM.

       In its First Amended Complaint1 (“FAC”), BBAM specifically asserted claims under

federal and state law for (1) trademark infringement, (2) false advertising, (3) unfair competition

under Connecticut law, and (4) cancellation of Defendants’ infringing trademark registrations

and refusal of a pending trademark application. See Dkt. 32 (FAC) at 27-40. Defendants

moved to dismiss the FAC on October 16, 2020, and the motion was denied on September 29,

2021. Dkt. 39, Dkt. 89.

       On October 13, 2021, Defendants filed their Answer to the FAC and included five

counterclaims for declaratory relief. Dkt. 95. As these counterclaims were improper “mirror-

images” of BBAM’s affirmative claims, BBAM promptly moved to dismiss. See Dkt. 110-1.

While BBAM’s motion was pending, Defendants filed the First Amended Answer and

Counterclaims (“FAAC”) on November 11, 2021. Dkt. 118. In addition to repleading the

mirror-image counterclaims with no relevant substantive change, the FAAC seeks to add a sixth

counterclaim against BBAM alleging violations of California’s Unfair Competition Law, Cal.




1
 On September 2, 2021, BBAM sought leave to file a Second Amended and First Supplemental
Complaint (“SAC”). Dkt. 84. The SAC does not add new claims but conforms the allegations
and theories of the existing claims to facts learned from the Defendants in discovery. Dkt. 84-1,
Ex. B ¶¶ 107; 112; 117; and 122.



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Bus. & Prof. Code § 17200, et seq. (“UCL”), based on alleged violations of the law of at least

seven jurisdictions, including (1) California Corp. Code § 25210; (2) 10 L.P.R.A. § 861 (Puerto

Rico); (3) Texas Rev. Civ. Stat. Art. 581-7; (4) N.Y. Gen. Bus. Law § 359-e; (5) Utah Code Ann.

§ 61-1-3; (6) 15 U.S.C. § 78o; and (7) the Japanese Financial Instruments and Exchange Act.

Dkt. 118 (FAAC2) ¶¶ 15, 157. As California’s UCL “borrows” violations of other laws,

Defendants’ UCL claim would require resolving both the applicability of California’s UCL to

this suit, and which (if any) of the laws of these other jurisdictions was violated.

       The UCL counterclaim—which is meritless—attempts to weave together a complicated

set of facts involving BBAM’s 30-year partnership with a Japanese company, Nomura Babcock

& Brown. FAAC ¶¶ 110–112, 157. Defendants allege that Nomura Babcock & Brown sells

investment interests in “Japanese Leases” to investors in Japan. Id. ¶ 96. Defendants further

allege that the Nomura Babcock & Brown investment interests qualify as “securities” under

various jurisdictions’ laws, and that BBAM assists Nomura Babcock & Brown in that process.

Id. ¶¶ 95; 105(a). Finally, Defendants allege that BBAM violated securities law by failing to

obtain certain licenses required for those who sell securities; id. ¶¶109–112; and that neither

BBAM nor its affiliates have obtained any license to conduct securities business in Japan. Id.

¶ 58. Neither the UCL claim itself, nor the underlying securities laws on which it is based, have

any relation to the claims and defenses that have been pending in this lawsuit since July 2020.

       On December 13, 2021, BBAM moved to dismiss the FAAC. See MTD, Dkt. 142. In its

MTD, BBAM presented several independent grounds that compel dismissal of the UCL claim,

including arguments related to standing, extraterritoriality, the UCL’s inapplicability to securities



2
 The FAAC contains two sets of numbered paragraphs: the Amended Answer runs from ¶¶ 1–
132 and the Amended Counterclaims runs from ¶¶ 1–162. All of BBAM’s citations to the
FAAC are to the First Amended Counterclaims.



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laws, Defendants’ inability to articulate an actionable unfair competition claim, and late-filed

permissive counterclaims. Id. Any one of these five arguments provides a basis for complete

dismissal of the UCL claim. BBAM also moved to dismiss the redundant declaratory relief

counterclaims for lack of justiciability. Id. at 37–39.

       At the time that the FAAC was filed, the parties had virtually completed discovery by the

Court’s cutoff date of October 15, 2021. Dkt. 80. The only outstanding discovery was a further

deposition of Defendants’ 30(b)(6) witness and two disputed discovery issues addressed in

pending motions to compel. Dkts. 93, 100. To provide time to resolve the discovery motions,

the Court suspended the scheduling order on October 27, 2021. Dkt. 104.

       As Defendants themselves concede, discovery to date has focused solely on BBAM’s

trademark and false advertising claims. Dkt. 130-1 at 7. BBAM has taken no discovery on the

UCL claim because BBAM was not aware of this claim until the FAAC was filed—after the

Court-set discovery cut-off of October 15, 2021. Dkt. 80.

       On November 30, 2021, Defendants moved for leave from the case suspension to take

additional discovery related to their UCL counterclaim. Dkt. 130. Defendants do not seek

discovery related to their declaratory relief counterclaims, which are mirror-images of Plaintiffs’

affirmative claims. 3 Dkts. 130; 142. BBAM files this opposition brief and cross-motion for a

protective order in response.

                                      LEGAL STANDARD

       Pursuant to Rule 26(c), a district court may stay discovery upon a showing of good cause.

See Fed. R. Civ. P. 26(c); Ema Fin., LLC v. Vystar Corp., 336 F.R.D. 75, 79 (S.D.N.Y. 2020)



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  If Defendants do seek to argue that discovery is necessary for the declaratory relief claims, the
request 1) would be too late and 2) would seek duplicative discovery on the trademark and false
advertising claims.



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(“[U]pon a showing of good cause a district court has considerable discretion to stay discovery

pursuant to Fed. R. Civ. P. 26(c).”) (citation and internal quotation omitted). “[Rule] 26(d) also

allows the Court to control the sequence and timing of discovery, particularly where resolution

of a preliminary matter may decide the entire case.” Ema Fin., 336 F.R.D. at 79; see also Fed.

R. Civ. P. 26(d).

          To determine whether good cause exists due to a pending dispositive motion like

BBAM’s MTD, courts consider three factors: (1) the strength of the pending dispositive motion;

(2) the breadth of discovery sought; and (3) any prejudice that would result to the non-moving

party. Ema Fin., 336 F.R.D. at 79; Lithgow v. Edelmann, 247 F.R.D. 61, 62 (D. Conn. 2007)

(explaining and applying test). “Good cause may be shown where a party has filed, or has

sought leave to file, a dispositive motion, the stay is for a short period of time, and the opposing

party will not be prejudiced by the order.” Ellington Credit Fund, Ltd. v. Select Portfolio Servs.,

Inc., No. 08 Civ. 2437 (RJS), 2008 WL 11510668, at *2 (S.D.N.Y. June 12, 2008) (quoting Niv

v. Hilton Hotels Corp., No. 06 Civ. 7839 (PKL), 2007 WL 510113, at *1 (S.D.N.Y. Feb. 15,

2007)).

                                           ARGUMENT

          All three factors strongly favor staying discovery until the Court has ruled on BBAM’s

pending MTD: (1) the pending MTD is likely dispositive and strong; (2) Defendants seek wide-

ranging discovery and significant further discovery will be required on the substance of the

FAAC’s counterclaims; and (3) Defendants will not be prejudiced by a brief delay. “Rule 26 is

often invoked to avoid potentially expensive and wasteful discovery during the pendency of a

determination which could potentially reshape pending claims.” ITT Corp. v. Travelers Cas. &

Sur. Co., No. 3:12CV38(RNC), 2012 WL 2944357, at *2 (D. Conn. July 18, 2012) (internal




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citation and quotation omitted) (granting protective order to stay discovery until court rules on

pending motion to dismiss). As explained below, the expansive scope of the UCL claim will

almost certainly necessitate wide-ranging discovery, including multiple depositions, new sets of

written discovery, additional expert discovery, and additional damages reports. But if the Court

dismisses the amended counterclaims, it will preclude the need for any discovery on the FAAC.

The discovery that Defendants seek is thus exactly the type of “potentially expensive and

wasteful discovery” that Rule 26(c) was designed to forestall.

I.     BBAM’S MTD PROVIDES MULTIPLE INDEPENDENT GROUNDS FOR
       DISMISSING THE LEGALLY DEFICIENT COUNTERCLAIMS

       Defendants included six counterclaims in their FAAC: the first five counterclaims sought

declaratory relief, and the sixth counterclaim alleged a complicated theory of unfair competition

based on an alleged violation of the securities laws of seven jurisdictions. FAAC ¶¶110-112,

135, 141, 146, 150, 155, 157. As BBAM explained in its MTD, all six of Defendants’

counterclaims are legally deficient. The declaratory relief counterclaims lack justiciability

because they are improper mirror images of BBAM’s affirmative claims, and the UCL claim is

not only untimely and should be litigated in California, if anywhere, but meritless because

(among other reasons) California’s UCL does not apply to securities violations, nor does it apply

extraterritorially. Dkt. 142 at 20, 24, and 37.

       For the first factor, courts find that a stay of discovery is appropriate where the pending

motion to dismiss has presented “substantial arguments” for dismissal. EMA Fin., 336 F.R.D. at

79; Hong Leong Fin. Ltd. (Singapore) v. Pinnacle Performance Ltd., 297 F.R.D. 69, 72

(S.D.N.Y. 2013). BBAM’s MTD presented at least six independent arguments that compel




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dismissing the amended counterclaims.4

       California’s UCL Does Not Apply To Alleged Securities Violations: Defendants’ UCL

claim alleges that BBAM violated securities laws because its partner Nomura Babcock & Brown

allegedly sold securities in Japan. The UCL claim must be dismissed as a matter of law because

California follows the majority view that such state laws do not apply to violations of securities

laws and regulations based on securities transactions. See Bowen v. Ziasun Techs., Inc., 116 Cal.

App. 4th 777, 790 (2004) (“[S]ection 17200 does not apply to securities transactions and the

court did not err in dismissing plaintiffs’ first three causes of action on that basis.”); MTD at 20.

“No court . . . has allowed Section 17200 claims to proceed where, as here, the predicate acts are

securities transactions.” EnSource Invs. LLC v. Willis, No. 3:17-cv-00079-H-LL, 2019 WL

6700403, at *16 (S.D. Cal. Dec. 6, 2019). This is not just a substantial argument for dismissal.

It is blackletter law in California that the UCL does not apply to securities transactions as alleged

in the FAAC. Defendants’ UCL counterclaim is accordingly meritless.

       The UCL Does Not Apply Extraterritorially: Defendants’ UCL claim must also be

dismissed because they seek to stretch the UCL to cover conduct that occurred outside of

California, but it is clear under California law that the UCL does not reach extraterritorially,

including to transactions that allegedly occurred in Japan. MTD at 24; Sullivan v. Oracle Corp.,

254 P.3d 237, 248 (Cal. 2011) (“Neither the language of the UCL nor its legislative history

provides any basis for concluding the Legislature intended the UCL to operate extraterritorially.

Accordingly, the presumption against extraterritoriality applies to the UCL in full force.”). In

order for the UCL to apply, the alleged transaction must have occurred in California. See, e.g.,



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 To avoid redundant pleading, BBAM will summarize and provide a high-level overview of its
MTD arguments in this brief. BBAM respectfully directs the Court to its pending MTD for
detailed analysis and explanation of its arguments for dismissal. See Dkt. 142.



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Siegal v. Gamble, No. 13-cv-03570-RS, 2016 WL 1085787, at *7 (N.D. Cal. Mar. 21, 2016)

(requiring that a security sale “took place in California” to fall under California law); Gross v.

Symantec Corp., No. C 12–00154 CRB, 2012 WL 3116158, at *7–8 (N.D. Cal. July 31, 2012)

(dismissing a UCL claim for failing to allege that wrongful conduct occurred in California). As

BBAM explained in its MTD, all of the transactions alleged in the FAAC occurred in Japan

between third-party Nomura Babcock & Brown and Japanese investors—there is not a single

allegation that an allegedly regulated transaction occurred in California. MTD at 25–26. Again,

Defendants’ UCL claim is meritless and should be dismissed under blackletter California law.

       Defendants Do Not Allege Standing Under the UCL: Defendants’ UCL claim must also

be dismissed because Defendants do not meet the UCL’s standing requirement. MTD at 26.

Specifically, the UCL requires standing beyond what is required by Article III standing,

requiring both an economic injury in fact, and a causal link between the alleged misconduct and

the claimed economic injury. See MTD at 27; see also Kwikset Corp. v. Superior Court, 246

P.3d 877, 887–888 (Cal. 2011); City of Long Beach v. Total Gas & Power N. Am., Inc., 465 F.

Supp. 3d 416, 449 (S.D.N.Y. 2020) (finding Article III standing but dismissing a UCL claim

because Plaintiff nevertheless failed to allege economic injury as required by the UCL). For the

reasons that BBAM explained in its MTD, Defendants’ allegations of economic injury do not

meet the UCL standing requirements, again compelling dismissal. MTD at 28–30.

       Defendants Cannot Allege A Substantive Violation of the UCL: Defendants’ UCL

claim must also be dismissed because Defendants cannot state a claim for a substantive violation

of the UCL. MTD at 30. The UCL has three theories of liability called “prongs”—unfair

competition can be (1) unlawful, (2) unfair, or (3) fraudulent. Defendants allege claims under

the unlawful and unfair prongs, but not the fraudulent prong. Id. at 19. BBAM’s MTD shows




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that violations of foreign law cannot constitute “unlawful” or “unfair” UCL predicate violations,

which eliminates Defendants’ claims based on violations of non-California state or international

law. MTD at 30. Further, BBAM could not have violated either California or federal securities

laws because the relevant statutes do not apply to transactions that Defendants allege occurred in

Japan. MTD at 31. As a matter of law, Defendants also cannot state a claim under the unfair

prong of the UCL, which is the equivalent of a federal antitrust claim, because they make no

attempt to (and cannot allege) such a claim. MTD at 35-36; see also Facebook, Inc. v.

Brandtotal Ltd., No. 20-cv-07182-JCS, 2021 WL 2354751, at *14–16 (N.D. Cal. June 9, 2021)

(explaining that an unfair UCL claim must implicate antitrust law and describing the necessary

elements under antitrust law); N. Am. Energy Sys., LLC v. New England Energy Mgmt., Inc., 269

F. Supp. 2d 12, 16 (D. Conn. 2002) (setting forth the same pleading requirements as Facebook).

Even if Defendants could plead around the fact that the UCL does not apply to securities law and

their lack of standing (they cannot), they fail to (and cannot plead) a violation of any liability

prong of the UCL.

       The UCL Claim Unduly Expands the Scope of the Case: Setting aside the fact that

Defendants’ UCL counterclaim is meritless as a matter of law, Defendants’ UCL counterclaim

should also be dismissed because it is brought late in the case and will unduly expand the

litigation to BBAM’s prejudice. MTD at 10. A new counterclaim that raises issues beyond the

scope of the plaintiff’s original claims is generally not permitted at a late stage of the case given

“undue expansion of litigation that the court is charged with managing” and “escalating

prejudice” to the counter-defendant. See GEOMC Co. v. Calmare Therapeutics Inc., 918 F.3d

92, 100 (2d Cir. 2019) (“[a]t a late stage of the litigation . . . a new counterclaim should normally

not be permitted if it exceeds the scope of the plaintiff’s new claims.”). The UCL claim unduly




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expands the litigation: it is a complicated legal theory based on California law that invokes the

laws and regulatory requirements of at least seven jurisdictions. MTD at 8, 15. The UCL

counterclaim is brought too late to proceed because it was first brought 18 months into the case

and after the Court-set discovery cutoff. Further, it is a permissive counterclaim that should be

dismissed in the Court’s discretion due to concerns about prejudice and delay. MTD at 12-14.

       The Court could decide to dismiss the UCL claim based on any one of BBAM’s five

arguments—they are all independent grounds for dismissal. See Integrated Sys. & Power, Inc. v.

Honeywell Int’l, Inc., No. 09 CV 5874 (RPP), 2009 WL 2777076, at *1 (S.D.N.Y. Sept. 1, 2009)

(granting stay and noting that “Honeywell has put forth in its motion multiple, independent

arguments for dismissal…”). This factor thus decisively favors a stay.

II.    DEFENDANTS SEEK TO OPEN DISCOVERY INTO WIDE-RANGING ISSUES

       The second factor is the breadth of discovery sought and the concomitant burden of

responding to it. Ema Fin., 336 F.R.D. at 79; Integrated Sys. & Power, 2009 WL 2777076, at

*1. Defendants’ UCL claim dramatically expands the scope of this case at a time when

discovery is virtually complete, including expert disclosures and depositions, and when the

parties should be preparing for dispositive motion practice. All of BBAM’s claims spring from

the same narrow core of facts and allegations pertaining to Defendants’ use of trademarks and

related misconduct. Defendants’ new UCL claim, on the other hand, has nothing whatsoever to

do with trademark infringement or even intellectual property rights. Instead, Defendants vaguely

allege a complicated legal theory based on California law that BBAM unfairly competes with

Defendants based on regulatory requirements in at least seven relevant jurisdictions. See FAAC

¶¶110–112, 157. While Defendants characterize the discovery as “limited” and “very narrow,”

Dkt. 130-1 at 5, the Court should view such claims with a skeptical eye—Defendants’ claim will




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essentially require a full-blown second litigation that is entirely discrete from the narrow core of

facts, claims, and defenses currently at issue in the case. Indeed, in their motion, Defendants

want a blank check on written discovery, seeking “written discovery requests starting

immediately” with no limitation. Dkt. 130 at 2.

       Moreover, Defendants cannot plausibly claim that only “limited” discovery is needed

when BBAM has not taken any discovery on this claim. Defendants allege that they learned the

basis for their UCL claim from discovery and from depositions that were taken beginning in

August. Dkt. 130-1 at 2. But Defendants did not disclose the UCL claim to BBAM until they

filed the FAAC on November 11, 2021, after the Court-set discovery cutoff of October 15, 2021.

Dkt. 80, Dkt. 118. BBAM had no warning of the UCL claim and was thus unable to take any

discovery on it, even though BBAM had served an interrogatory on August 16, 2021, that

explicitly sought information regarding the factual bases for any potential counterclaims. MTD

at 4–5. BBAM would need to re-depose many of Defendants’ employees to develop evidence

for use in its defense. To understand and defend against Defendants’ claims of unfair

competition, BBAM would—at a minimum5—need to serve discovery and depose Defendants

regarding the following topics: (1) Defendants’ compliance with federal securities regulations,

specifically Section 15(a) of the U.S. Securities Exchange Act (the “Exchange Act”), codified at

15 U.S.C. § 78o(a), and similar regulations in the states and countries where they operate,

FAAC ¶¶ 15, 157; (2) Defendants’ efforts to enter the Japanese market and associated costs; (3)

Defendants’ participation and related marketing expenditures in that market; (4) to whom

Defendants marketed to and what responses Defendants received from their marketing efforts;



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  If the UCL claim is allowed, BBAM will need to serve a responsive pleading and reserves all
rights to assert any and all appropriate claims and defenses therein. Thus, these are just
exemplary categories.



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(5) the investigation that Defendants conducted before filing the FAAC; (6) complicated issues

of causation arising from Defendants’ claims that BBAM’s alleged lack of a broker-dealer

license caused them harm in a foreign market; and (7) new claimed damages arising from

Defendants’ contention that they lost business due to BBAM’s conduct. Moreover, BBAM and

Defendants would need to prepare entirely new expert reports including on securities regulations

and damages that account for Defendants’ new UCL allegations.

       None of these issues were within the scope of BBAM’s First Amended Complaint or

Defendants’ defenses; no discovery has been taken by BBAM on any of these issues. The

amended counterclaims are far afield from the straightforward trademark infringement and false

advertising case that the parties have been litigating since July 2020 and broad discovery will be

necessary if the claim proceeds. This factor thus strongly supports a stay.

III.   DEFENDANTS WILL NOT BE PREJUDICED BY A BRIEF STAY

       Finally, Defendants do not (nor can they) articulate any prejudice that would arise from a

brief stay. “A stay pending determination of a dispositive motion that potentially eliminates the

entire action will neither substantially nor unduly delay the action, should it continue.” Spinelli v.

Nat’l Football League, No. 13 CV 7398 (RWS), 2015 WL 7302266, at *2 (S.D.N.Y. Nov. 17,

2015) (quoting Rivera v. Heyman, No. 96 CV 4489(PKL), 1997 WL 86394, at *1 (S.D.N.Y. Feb.

27, 1997)). As explained above, BBAM’s MTD is a dispositive motion that may entirely

eliminate the amended counterclaims, which would then eliminate any need for the related

discovery—saving both sides substantial amounts of time and money.

       Moreover, BBAM seeks to stay discovery only until the Court has ruled on its pending

motion to dismiss. Courts routinely find that stays of only a few months do not prejudice the

other party. See, e.g., Integrated Sys. & Power, 2009 WL 2777076, at *1 (finding no prejudice




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and granting stay where “the stay requested by Defendant will likely delay the commencement of

discovery for only a few months”); Hertz Glob. Holdings, Inc. v. Nat. Union Fire Ins. Co. of

Pittsburgh, No. 19-cv-6957 (AJN), 2020 WL 6642188, at *1 (S.D.N.Y. Nov. 12, 2020) (finding

no prejudice in “a short delay at this time”); Miller v. Brightstar Asia, Ltd., No. 20-CV-4849

(GBD) (JLC), 2020 WL 7483945, at *5 (S.D.N.Y. Dec. 21, 2020) (finding no prejudice where

the stay of discovery would “presumably be for a relatively short time”). According to the

current briefing schedule, BBAM’s MTD will be fully briefed and ready for adjudication by

January 17, 2022.6 A short delay of just a few months does not prejudice Defendants,

particularly when the stay will clarify whether any additional discovery at all is needed in this

case. In contrast, allowing discovery to proceed if it is ultimately deemed unnecessary when the

claim is dismissed would be highly prejudicial. This factor thus strongly supports a stay.

       In sum: all three factors decisively support granting a brief stay until the Court rules on

BBAM’s MTD. This alone is enough for the Court to grant a stay. Additionally, however,

Defendants fail to show that their discovery requests are supported by the requisite good cause.

IV.    DEFENDANTS DO NOT HAVE GOOD CAUSE TO SEEK ADDITIONAL
       DISCOVERY

       Defendants must show good cause to depart from the Court’s case suspension order and

take additional discovery. See Fed. R. Civ. P. 16(b)(4) (“A schedule may be modified only for

good cause and with the judge’s consent.”). At best, Defendants argue good cause exists because

they “only recently discovered the facts that form the basis for the [UCL claim].” Dkt. 130-1 at

5. Defendants specifically claim that they “only learned of the bases for the [UCL claim] during




6
  On December 15, 2021, the parties jointly moved to extend the briefing schedule for the MTD.
Dkt. 147. If the Court grants the motion, the MTD will be fully briefed by February 7, 2021. Id.
at 3.



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discovery, primarily through the deposition testimony of Plaintiffs’ witnesses and a third-party

witness.” Id. at 6.

       The problem with Defendants’ recent discovery theory is that information regarding a

company’s broker-dealer licenses—the sole purported basis of their UCL claim—is publicly

available. See MTD at 17 n.5. Additionally, by last August, Defendants had questioned

BBAM’s 30(b)(6) witness regarding broker-dealer licenses. Id. at 17. Thus, Defendants had the

information they claimed that they needed by at least last summer and could have sought to add

the UCL claim then but elected not to and unduly delayed until after the close of discovery.

There is no good cause to allow them to obtain this discovery now.

V.     BBAM’S CROSS-MOTION FOR A PROTECTIVE ORDER UNDER RULE 26(c)
       SHOULD BE GRANTED FOR ALL THE SAME REASONS

       BBAM has shown that all three factors strongly weigh in favor of a stay and thus good

cause exists for a protective order. Under Rule 26(c), a court may issue a protective order to stay

discovery upon a showing of good cause. Ema Fin., 336 F.R.D. at 79. Courts routinely find that

a pending dispositive motion constitutes good cause where the motion presents substantial

arguments for dismissal, the sought discovery is broad, and the other party would not be

prejudiced by a stay. See, e.g., id. at 84 (entering protective order staying discovery pending

disposition of a motion to dismiss); Hong Leong, 297 F.R.D. at 72 (entering protective order

staying discovery pending disposition of a motion to dismiss); Integrated Sys. & Power, Inc.,

2009 WL 2777076, at *1 (entering protective order staying discovery pursuant to Rule 26(c)

pending disposition of a motion to dismiss). BBAM has presented substantial arguments for

dismissal, Defendants seek broad and far-ranging discovery, and Defendants will not be

prejudiced by a brief stay. There is thus good cause for a protective order staying discovery

related to the UCL claim until after the Court rules on the MTD.




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                                        CONCLUSION

       The outcome of BBAM’s pending MTD is a pivot point in the case. If the Court grants

the MTD, then Defendants’ Motion for Additional Discovery is moot and the case will proceed

on BBAM’s trademark and false advertising claims. If, on the other hand, the Court denies

BBAM’s MTD, then full discovery must commence so that BBAM can adequately understand

and defend itself from Defendants’ new claim. It makes little sense to hurtle into expansive

discovery that is premature, expensive, and wasteful, when a short delay will clarify if discovery

is needed at all. BBAM accordingly requests that the Court deny Defendants’ Motion for

Additional Discovery and grant BBAM’s Motion for a Protective Order.



Dated: December 21, 2021

                                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 21, 2021, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing. Parties may access this filing through the

Court’s CM/ECF system.




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